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§
§_;;g_;r.,,; , . ,
UNITED STATES DISTRICT COURT wish §§ 23 ?§l \: 5a
SOUTHERN ,DISTRICT OF INDIANA _ l __`

 

EvANvaLLE DIvISIoN
UNITED sTATEs oF AMERICA, )
)
Plaimiff, )
)
v. ) CAUSE No. 314-cqu RLY-WGH-ol

) _ ‘
. KEVIN RAY HICKS, )
)
Defendant. )

I N D 1 C T M E N T
Counts 1-23

[18 U.S.C. § 1709 - Theft of Mail Matter by Officer or Employee]

The Grand Jury charges that:

F rom in or around July 2014 through August 2014, in the Southern District of Indiana,
Evansville Division, KEVIN RAY HICKS, the defendant herein,` while working as a United t
States Postal Service employee, did unlawfully embezzle and steal packages and prescription
pain medication contained therein which were entrusted to him and intended to be conveyed by
mail, and carried and delivered by any carrier or other employee of the Postal Service, to wit:
while working as a Manager in the Evansville, Indiana Postal Processing and Distribution
Facility, HICKS removed packages mailed by the Veterans Affairs Administration from the
processing facility, opened the packages, and stole the prescription pain medication contained

therein, as specified in each count below.

 

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Count On or About Date Addressee Address USPS Tracking #

1 July 18, 2014 HEW North Dubois, IN 47527 9274 8901 0661 8000 0361 4080 29
2 July 18, 2014 JWS Greenville, KY 42345 9274 8901 0661 8000 0361 3964 18 `
3 July 18, 2014 JNA Madisonville, KY 42431 9274 8901 0661 8000 0359 1785 52
4 July 18, 2014 CLN Lewisport, KY 42351 9274 8901 0661' 8000 0359 5658 57
5 August 1, 2014 SED Fort Branch, IN 47648-8203 9274 89010006 8500 0646 7631 37
6 August 1, 2014 DLP Maceo, KY 42355 9274 8901 0006 8500 0646 8464 41
7 August 1, 2014 PMM Henderson, KY 42420 9274 8901 0006 8500 0646 7735 94
8 August 1, 2014 WCS Petersburg, IN 47567 9274 8901 0006 8500 0646 7213 59
9 August 1, 2014 KDC Henderson, KY 42420 9274 8901 0006 8500 0646 7716 82
10 l August 1, 2014 RES Owensboro, KY 42303 9274 8901 0006 8500 0646 7725 59
11 August 1, 2014 ' MLH Vincennes, IN 47591 9274 8901 0006 8500 0646 6810 42
12 August 1, 2014 KRG Winslow, IN 47598 9274 8901 0006 8500 0646 7648 82 `
13 August 1, 2014 GLH Philpot, KY 42366 9274 8901 0006 8500 0646 8345 85
14 August'l, 2014 DGM Evansville, IN 47714 9274 8901 0006 8500 0646 5866 99
15 August 1, 2014 AAW Jasper, lN 47546 9274 8901 0006 8500 0646 8284 78
16 August 1, 2014 GEN Boonville, IN 47601 9274 8901 0006 8500 0646 6973 57
17 August l, 2014 MB Patoka, IN 47666-0131 9274 8969 0078 2220 6373 84

18 4 August l, 2014 DSB Owensboro, KY 42301 9274 8901 0006 8500 0646 6685 17
19 August 1, 2014 HLU Evansville, IN 47714 9274 8901 0006 8500 0646 6723 61
20 v August 1, 2014 PLL Evansville, IN 47714 9274 8901 0006 8500 0646 7069 43
21 August 1, 2014 HEC Mt Vernon, IN 47620 9274 8901 0006 8500 0646 7674 01
22 August 1, 2014 IFI Evansville, IN 47715 9274 8901 0006 8500 0646 7585 22

 

 

 

 

 

 

 

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23

 

August 1, 2014 LRW

 

 

Sturgis, KY 42459

 

9274 8901 0006 8500 0646 6933 04

 

 

All of which is in violation of Title 18, United States Code, Section 1709.

JOSH J. MINKLER
Acting United States Attomey

M /l~

Kyle M. Sawa, `
Assistant United States Attomey

JOSH J. MINKLER
Acting United States Attomey

 

TQhellenbarger '

Assistant United States Attomey

A TRUE BILL:

 

FOREPERSON

 

